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                             Exhibit A
                (Mlive.com article of February 16, 2024 - “Michigan DNR
                explores new plan to dredge Sleeping Bear Dunes river”)
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